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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                    Case Number 4:01cr3106

                                                      USM Number 16922-047

MARY M. NEGETHON
               Defendant
                                                      John C. Vanderslice

                                                      Defendant’s Attorney
___________________________________

                              JUDGMENT IN A CRIMINAL CASE
                       (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of standard condition 7 of the term of supervision and
mandatory condition which states “The defendant shall not commit another federal, state, or local
crime.”

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

                                                                             Date Violation
       Violation Number                Nature of Violation                    Concluded


 1. (Mandatory Condition)        The defendant shall not commit             September 9, 2005
                                 another federal, state, or local
                                 crime.

 2. (Standard Condition #7)      The defendant shall refrain from           September 9, 2005
                                 the excessive use of alcohol and
                                 shall not purchase, possess,
                                 use, distribute, or administer any
                                 controlled substance or any
                                 paraphernalia related to any
                                 controlled substances, except
                                 as prescribed by a physician.

 3. (Standard Condition #7)      The defendant shall refrain from       Week of September 5, 2005
                                 the excessive use of alcohol and
                                 shall not purchase, possess,
                                 use, distribute, or administer any
                                 controlled substance or any
                                 paraphernalia related to any
                                 controlled substances, except
                                 as prescribed by a physician.

Original Offense: Conspiracy to manufacture and distribute and possess with intent to distribute
methamphetamine in violation fo 21 USC 846.

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.
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       Following the imposition of sentence, the Court advised the defendant of her right
to appeal pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C.
§ 3742(a) and that such Notice of Appeal must be filed with the Clerk of this Court within
ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                                    April 25, 2006

                                                                      s/ Richard G. Kopf
                                                                      United States District Judge

                                                                              April 26, 2006
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                                       IMPRISONMENT

       It is ordered that supervised release is revoked. The defendant is hereby committed to the
custody of the United States Bureau of Prisons to be imprisoned for a term of two (2) years with
no supervised release to follow.

        The Court makes the following recommendations to the Bureau of Prisons:

1.      That the defendant be placed at a federal medical center such as the FMC at Carswell, Fort
        Worth, Texas, as a result of her serious mental and emotional problems as more
        specifically described in various documents including the presentence report at paragraphs
        81 through 93 and because her previous incarcerations have involved placement at FMC
        Carswell.

2.      The Court recommends in the strongest possible terms that the defendant participate in the
        500-hour Intensive Drug Treatment Program or any similar drug treatment program
        available.

[x]     The defendant is remanded to the custody of the U. S. Marshal.


                              ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                             _____________________________
                                                                     Signature of Defendant

                                            RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.

                                                      __________________________________
                                                             UNITED STATES WARDEN

                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                         CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______
                                                       __________________________________
                                                                 UNITED STATES WARDEN


                                                   By:__________________________________
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                              CRIMINAL MONETARY PENALTIES

       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                    Total Fine                  Total Restitution

 $100.00 (BALANCE OF
        $25.00 REMAINS)



                                             FINE

        No fine imposed.


                                        RESTITUTION

        No Restitution was ordered.
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                                     SCHEDULE OF PAYMENTS

        Having assessed the defendant’s ability to pay; payment of the total criminal monetary
penalties shall be due as follows:

      Lump sum payment of $ 100.00 special assessment due immediately. (Balance of $25
remains.)

        Unless the court has expressly ordered otherwise in the special instruction above, if this
judgment imposes a period of imprisonment, payment of criminal monetary penalties shall be due
during the period of imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the
clerk of the court, unless otherwise directed by the court, the probation officer or the United States
attorney.

      All financial penalty payments are to be made to the Clerk of Court for the District of
Nebraska, 593 Federal Building, 100 Centennial Mall North, Lincoln, NE 68508.

      The defendant shall receive credit for all payments previously made toward any criminal
monetary penalties imposed.



CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
